UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN ,                                              :
                                                            :
                   Plaintiff,                               :   Civil Action No. ______________
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 PNM RESOURCES, INC. PATRICIA K.                            :   SECTIONS 14(a) AND 20(a) OF THE
 COLLAWN, VICKY A. BAILY, NORMAN                            :   SECURITIES EXCHANGE ACT OF
 P. BECKER, E. RENAE CONLEY, ALAN J.                        :   1934
 FOHRER, SIDNEY M. GUTIERREZ,                               :
 JAMES A. HUGHES, MAUREEN T.                                :   JURY TRIAL DEMANDED
 MULLARKEY, DONALD K. SCHWANZ,                              :
 and BRUCE W. WILKINSON,                                    :
                                                            :
                   Defendants.
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        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against PNM Resources, Inc. (“PNM

Resources or the “Company”) and the members PNM Resources board of directors (the “Board”

or the “Individual Defendants” and collectively with the Company, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), in connection with the proposed acquisition of PNM Resources by AVANGRID, Inc.

(“AVANGRID”) and its affiliates.

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A
(the “Proxy Statement”) to be filed on December 18, 2020 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders.                 The Proxy

Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby NM Green Holdings, Inc. (“Merger Sub”), a wholly owned subsidiary of AVANGRID,

will merge with and into PNM Resources with PNM Resources surviving the merger and

becoming a wholly-owned subsidiary of AVANGRID (the “Proposed Transaction”). Pursuant to

the terms of the definitive agreement and plan of merger the companies entered into (the “Merger

Agreement”) each PNM Resources common share issued and outstanding will be converted into

the right to receive $50.30 in cash (the “Merger Consideration”).

       3.      As discussed below, Defendants have asked PNM Resources stockholders to

support the Proposed Transaction based upon the materially incomplete and misleading

representations and information contained in the Proxy Statement, in violation of Sections 14(a)

and 20(a) of the Exchange Act. Specifically, the Proxy Statement contains materially incomplete

and misleading information concerning the Company’s financial forecasts and financial analyses

conducted by the financial advisors of the Company, Evercore Group L.L.C. (“Evercore”) in

support of its fairness opinion, and relied upon by the Board in recommending the Company’s

stockholders vote in favor of the Proposed Transaction.

       4.      It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to PNM Resources stockholders or, in the event




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the Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because AVANGRID, the buyer of the Company, is

incorporated in this District and a significant portion of the sales process occurred in this district.

                                              PARTIES

        9.      Plaintiff is, and has been at all relevant times, the owner of PNM Resources

common stock and has held such stock since prior to the wrongs complained of herein.

        10.     Individual Defendant Patricia K. Collawn has served as a member of the Board

since March 2010, Chairman of the Board since 2012, and President and Chief Executive Officer

since 2010.

        11.     Individual Defendant Vicky A. Bailey has served as a member of the Board since

January 2019.

        12.     Individual Defendant Norman P Becker has served as a member of the Board since

May 2016.


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       13.      Individual Defendant E. Renae Conley has served as a member of the Board since

May 2014.

       14.      Individual Defendant Alan J. Fohrer has served as a member of the Board since

March 2012.

       15.      Individual Defendant Sidney M. Gutierrez has served as a member of the Board

since May 2015.

       16.      Individual Defendant James A. Hughes has served as a member of the Board since

January 2019.

       17.      Individual Defendant Maureen T. Mullarkey has served as a member of the Board

since May 2014.

       18.      Individual Defendant Donald K. Schwanz has served as a member of the Board

since July 2008.

       19.      Individual Defendant Bruce W. Wilkinson has served as a member of the Board

since May 2010.

       20.      Defendant PNM Resources is incorporated in New Mexico and maintains its

principal offices at 414 Silver Ave. SW, Albuquerque, New Mexico. The Company’s common

stock trades on the New York Stock Exchange under the symbol “PNMR.”

       21.      The defendants identified in paragraphs 10-19 are collectively referred to as the

“Individual Defendants” or the “Board.”

       22.      The defendants identified in paragraphs 10-20 are collectively referred to as the

“Defendants.”




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                               SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       23.     PNM Resources, through its subsidiaries, engages in the energy and energy-related

businesses in the United States. It operates through Public Service Company of New Mexico

(PNM) and Texas-New Mexico Power Company (TNMP) segments. The PNM segment is

primarily involved in the generation, transmission, and distribution of electricity. It generates

electricity using coal, natural gas and oil, nuclear fuel, solar, wind, and geothermal energy sources.

As of December 31, 2018, this segment had owned or leased facilities with a total net generation

capacity of 2,102 megawatts; and owned 3,206 miles of electric transmission lines, 6,067 miles of

distribution overhead lines, 5,885 miles of underground distribution lines, and 255 substations. It

also owns and leases office and other equipment, office space, vehicles, and real estate. The TNMP

segment provides regulated transmission and distribution services. As of December 31, 2018, this

segment owned 997 miles of overhead electric transmission lines, 7,151 miles of overhead

distribution lines, 1,260 miles of underground distribution lines, and 122 substations. It also owns

and leases vehicles, service facilities, and office locations throughout its service territory. The

Company serves approximately 782,000 residential, commercial, and industrial customers, as well

as end-users of electricity in New Mexico and Texas. PNM Resources was founded in 1917 and is

headquartered in Albuquerque, New Mexico.

       24.     On October 21, 2020, PNM Resources and AVANGRID jointly announced that

they had entered into a proposed transaction:

       (ALBUQUERQUE, N.M.) – PNM Resources (NYSE: PNM) today announced
       with AVANGRID (NYSE: AGR) that they have entered into a definitive agreement
       under which AVANGRID will acquire all the outstanding shares of PNM
       Resources. The agreement, which has been unanimously approved by both
       companies’ Boards of Directors, creates a leading U.S. regulated utility and
       renewable energy platform. Under the terms of the agreement, PNM Resources
       shareholders will receive $50.30 in cash for each share of PNM Resources common


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stock held at closing, representing an equity value of approximately $4.3 billion.
The proposed transaction implies a 19.3% premium to PNM Resources 30-day
volume weighted average price (VWAP) as of 10/20/20. “We are excited to be part
of this transaction that provides so many benefits to our customers, communities,
employees and shareholders,” said Pat Vincent-Collawn, Chairman, President and
CEO of PNM Resources. “Our combined companies provide greater opportunities
to invest in the infrastructure and new technologies that will help us navigate our
transition to clean energy while maintaining our commitments to our local teams
and communities.”

COMBINED COMPANY The combination creates a larger, more diversified
regulated utility and renewable energy company with electric and gas utilities in
complementary geographies. Regulated utility operations expand under the
transaction and provide increased operational and regulatory diversification,
serving more than 4 million electric and natural gas customers of 10 regulated
utilities across New York, Connecticut, Maine, Massachusetts, New Mexico, and
Texas. These combined operations are supported by $14 billion of rate base,
including more than 104,000 miles of electric transmission and distribution lines.
AVANGRID is the third largest wind operator in the U.S. and is a leading
sustainable energy company with more than 7.4 gigawatts of installed wind and
solar capacity. The strategic combination with PNM Resources also provides a
platform for AVANGRID to expand its renewables business in the Southwest
beyond its existing 1.9- gigawatt capacity wind projects in New Mexico and Texas
and 200 megawatts of wind and solar capacity in Arizona. The scope and diversity
of the combined business results in greater ability to invest in energy efficiency and
new technologies. The combined company’s robust financial profile will provide
flexibility to pursue near- and long-term growth opportunities, particularly in
electric transmission and renewable energy. Through AVANGRID’s parent
company, Iberdrola, S.A., the combined company will have access to extensive
financial resources to support this growth profile. Ignacio Galán, Iberdrola and
Avangrid Chairman: "This transaction is a consequence of the IBERDROLA
Group’s disciplined strategy followed over more than 20 years. This is a friendly
transaction, focused on regulated businesses and renewables in highly rated states
with legal and regulatory stability and predictability offering future growth
opportunities." Dennis Arriola, Avangrid’s CEO who will remain as CEO of the
combined Company said: “This merger between Avangrid and PNM Resources is
a strategic fit and helps us further our growth in both clean energy distribution and
transmission, as well as helping to expand our growing leadership position in
renewables. Our two companies also share the same values as we both are
passionate about our customers, employees, and the communities we serve. In
addition, both AVANGRID and PNM Resources are leaders in environmental,
social and governance issues that impact our stakeholders.” OTHER
INFORMATION The combined company recognizes the value that local
management’s knowledge and expertise bring to serving the communities in which
its businesses operate. PNM Resources operations will continue to be overseen
locally and the current headquarters of the utilities in New Mexico and Texas will



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       remain. Customers of Public Service Company of New Mexico (PNM) and Texas-
       New Mexico Power Company (TNMP), the wholly-owned regulated utility
       subsidiaries of PNM Resources, will benefit from the shared knowledge and
       technology across a global organization. The combined entity will have access to
       greater resources to continue providing safe and reliable service that supports an
       accelerated transition to clean energy and provides customer value. Pat Vincent-
       Collawn will step down as Chairman, President and Chief Executive Officer upon
       closing of the transaction. Don Tarry, current Chief Financial Officer of PNM
       Resources, will oversee the continuing operations of PNM and TNMP. Two
       directors from the current PNM Resources Board will serve as independent
       directors of AVANGRID. One director from the current PNM Resources Board
       will also serve on the Board of the Avangrid Networks business. PNM remains
       committed to exiting coal through the approved abandonment of San Juan
       Generating Station in 2022 and the continued efforts to exit its 200-megawatt
       ownership interest in the Four Corners Power Plant earlier than originally planned.
       PNM sees the potential for additional customer savings by exiting the plant sooner
       than the expiration of the ownership and coal supply agreements in 2031. An earlier
       exit from Four Corners also opens the door for the combined company to bring
       additional renewable resources onto the grid in support of New Mexico's increasing
       renewable energy standards and 2045 carbon-free mandate.

       The transaction is subject to PNM Resources shareholder approval, regulatory
       approvals from the New Mexico Public Regulation Commission, Public Utility
       Commission of Texas, Federal Energy Regulatory Commission, Department of
       Justice (Hart Scott-Rodino Clearance), Nuclear Regulatory Commission, Federal
       Communications Commission and Committee on Foreign Investment in the United
       States, and other customary closing conditions. The transaction is expected to close
       between October and December 2021. ADVISORS Evercore served as exclusive
       financial advisor and Troutman Pepper served as legal advisor to PNM Resources.
       BNP Paribas served as exclusive financial advisor and Latham & Watkins served
       as legal advisor to AVANGRID.


       25.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that PNM Resources’ stockholders are provided with the material information that has

been omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       26.     On December 18, 2020, PNM Resources filed the Proxy Statement with the SEC

in connection with the Proposed Transaction.         The Proxy Statement was furnished to the



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Company’s stockholders and solicits the stockholders to vote in favor of the Proposed Transaction.

The Individual Defendants were obligated to carefully review the Proxy Statement before it was

filed with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain

any material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning PNM Resources Financial Projections

       27.     The Proxy Statement fails to provide material information concerning financial

projections by PNM Resources management and relied upon by Evercore in its analysis. The Proxy

Statement discloses management-prepared financial projections for the Company which are

materially misleading. The Proxy Statement indicates that in connection with the rendering of its

fairness opinion, that the Company prepared certain non-public financial forecasts (the “Company

Projections”) and provided them to the Board and the financial advisors with forming a view about

the stand-alone valuation of the Company. Accordingly, the Proxy Statement should have, but fails

to provide, certain information in the projections that PNM Resources management provided to

the Board and the financial advisors. Courts have uniformly stated that “projections … are

probably among the most highly-prized disclosures by investors. Investors can come up with their

own estimates of discount rates or [] market multiples. What they cannot hope to do is replicate

management’s inside view of the company’s prospects.” In re Netsmart Techs., Inc. S’holders

Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       28.     For the Company Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: Operating Income Excluding




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Regulatory Disallowances, Ongoing Net Income, Ongoing EPS and If Converted Ongoing EPS,

but fails to provide line items used to calculate these metrics and/or a reconciliation of these non-

GAAP metrics to their most comparable GAAP measures, in direct violation of Regulation G and

consequently Section 14(a).

       29.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       30.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.1

       31.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,



1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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Defendants must provide a reconciliation table of the non-GAAP measure to the most comparable

GAAP measure to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Evercore’s Financial Analysis

       32.     With respect to Evercore’s Discounted Cash Flow Analysis for the Company, the

Proxy Statement also fails to disclose: (i) the standalone, unlevered, after-tax free cash flows for

the Company for the period from October 20, 2020 through December 31, 2024; (ii) the ranges of

terminal values for the Company; (iii) the inputs and assumptions underlying the use of perpetuity

growth rates of 1.50% to 2.00%; (iv) the inputs and assumptions underlying the use of the price to

earnings-per-share (“P/E”) multiples ranging from 18.00x to 21.00x to the estimate of 2024

recurring net income reflected in the Projections; (v) the inputs and assumptions underlying the

use of the enterprise value (“EV”) to earnings before interest, tax, depreciation and amortization

(“EBITDA”) multiples ranging from 11.00x to 13.00x to the estimate of 2024 EBITDA reflected

in the Projections; (vi) the inputs and assumptions underlying the discount rate of 5.0% to 6.0%

for the various methods of computation; (vii) the net debt of the Company as of September 30,

2020; and (viii) the number of fully diluted outstanding shares of the Company as of September

30, 2020.

       33.     In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.




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                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          34.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          35.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          36.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial

analysis that were prepared by Evercore and relied upon by the Board in recommending the

Company’s stockholders vote in favor of the Proposed Transaction.

          37.   In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.



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          38.   Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

          39.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          40.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          41.   The Individual Defendants acted as controlling persons of PNM Resources within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of PNM Resources, and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the incomplete and misleading statements contained in the Proxy

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of PNM Resources, including the content and



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dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

       42.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       43.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of PNM Resources, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Proxy Statement.

       44.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       45.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       46.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these




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defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

          47.    Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                       RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.




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Dated: December 23, 2020       WOLF HALDENSTEIN ADLER
                               FREEMAN & HERZ LLP

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